Case 2:04-cr-20310-SH|\/| Document 64 Filed 07/14/05 Page 1 of 2 P`age|D 75

IN TI-m: UNITE:D sTATEs D:l:sTRIcT coURT By D’c'

FoR THE: wEsTERN nrs'z-R:cc'r oF TENNEss _
wEsTERN nrv::s:l:oN E§JUL H* m"' 95

 

H'DMAS` M. G€ll£)
.as .
UNITED STA'I‘ES OF AMERICA, } W';D {}; m ?:r~pws
Plaintiff, §
vs. § CR. NO. 04-20310-Ma
MAJOR GRUBBS, §
Defendant. §

 

ORDER ON CONTIN'UANCE A.ND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on June 24, 2005.
Defense Counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning September 6, 2005 at 9:30 a.m., with
a report date of Friday, August 26, 2005 at 2:00 p.m.

The period from June 24, 2005 through September 16, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iV) and 3l6l(h}(l)(F}
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial.

. ¢3}{`
IT IS SO ORDERED this day of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRIC'I‘ JUDGE

 

.a a.-.:`l sum on Li as asua.;*\t:i rifle ‘l m/CD||']p: ld.l}CE‘

with H.ue 55 and/or 32lbl FHCrP on `“ @§/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 2:04-CR-203]0 Was distributed by faX, mail, or direct printing on
July ]5, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

